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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

                                                        )
 UNITED STATES OF AMERICA,                              )
                                                        ) Criminal No. 1:21-cr-00040-TNM
                          v.                            )
                                                        )
 FREDERICO GUILLERMO KLEIN,                             )
                                                        )
                     Defendant.                         )
                                                        )

                                 MOTION TO JOIN AND ADOPT

       Federico Guillermo Klein, by and through undersigned counsel, and pursuant to Rule 2 of

the Federal Rules of Criminal Procedure, hereby respectfully requests this Court permit him to

adopt and join the following Motions (as well as any replies in support thereof):

       •    The following specific sections of Steven Cappuccio’s Motion in Limine (June 3, 2022) (ECF
            No. 304):
                o Section 1: Seeking to preclude the government from offering evidence or argument
                    related to the public and political controversy surrounding the events of January 6,
                    2021, including, but not limited to, reference to an “insurrection,” or an “attack” on
                    the Capitol, describing those present on January 6, 2021, as “rioters,” and describing
                    the Lower West Terrace as the “Tunnel of Death,” as well as comparable terms of an
                    informal nature used to describe the event, locations, or participants involved in the
                    events of January 6, 2021. (Id. at 4-5);
                o Section 3: Seeking to preclude the testimony of expert witnesses not otherwise
                    identified by the government prior to June 3, 2021, pursuant to the Court’s March 4,
                    2022, Minute Order. (Id. at 10);
                o Section 4: Seeking to exclude any purported expert testimony by government
                    witnesses not formally designated as experts by limiting lay witness testimony to
                    observations based on personal knowledge (Id. at 15);
                o Section 7: Seeking to exclude reference by the government to the terms, “victim,”
                    “robbery,” “assault,” and any similar terms the Court might identify, that are
                    prejudicial, conclusory, and reach ultimate issues. (Id. at 18-19); and
                o Section 8: Seeking to exclude testimony and evidence suggesting possible
                    conspiracies prior to the events of January 6, 2021, and to have witnesses and the
                    government instructed to refrain from using the term “conspiracy” and similar terms
                    in testimony and evidence submitted to the jury. (Id. at 20-21).
       •    The following specific sections of David Lee Judd’s Motion to Exclude (June 3, 2022) (ECF
            No. 316):
                o Section I: Seeking, inter alia, a limiting instruction that the jury is not to consider
                    evidence introduced as against any co-defendant when evaluating the charges as
                    against another co-defendant.
       •    David Lee Judd’s Motion for a Juror Questionnaire (June 3, 2022) (ECF No. 317);
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       •    David MeHaffie’s Motion in Limine (June 3, 2022) (ECF No. 328); and
       •    David Lee Judd’s Motion for Attorney-Conducted Jury Voir Dire (June 3, 2022) (ECF No.
            333);

       The government has charged Mr. Klein with the same or substantially similar counts as

those addressed in the foregoing motions and the alleged “concerted conduct,” applicable law,

and arguments applied thereto apply equally to Mr. Klein as to his co-defendants.



                                [SIGNATURE ON NEXT PAGE]
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Dated: June 13, 2022         Respectfully submitted,

                                    /s/ Stanley E. Woodward, Jr.
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                             Counsel for Defendant Frederico Guillermo Klein
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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                      )
 UNITED STATES OF AMERICA,                            )
                                                      ) Criminal No. 1:21-CR-00040-TNM
                         v.                           )
                                                      )
 FEDERICO GUILLERMO KLEIN,                            )
                                                      )
                    Defendant.                        )
                                                      )

                                     CERTIFICATE OF SERVICE

       On June 13, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to the following registered parties:


                                 Respectfully submitted,

                                        /s/ Stanley E. Woodward, Jr.
                                 Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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